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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:06−cr−00324
                                                           Honorable John J. Tharp Jr.
, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 20, 2024:


        MINUTE entry before the Honorable John J. Tharp, Jr. as to Johneak Johnson: In
court hearing held and continued to 4/5/24 at 9:00 a.m. Mr. Johnson did not appear for
today's hearing. Parties are granted the early return of trial subpoenas; any documents
produced pursuant to such subpoenas must be shared promptly with the other side. Mailed
notice (air, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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